Case 1:05-cr-10033-.]DT Document 44 Filed 07/12/05 Page 1 of 2 PagelD 56

lN THE UN|TED STATES D|STRlCT COURT
FOR THE WESTERN D|STR|CT OF TENNESSEE
EASTERN D|V|S|ON

 

UN|TED STATES OF AMER!CA,

P|aintiff,

 

v. Cr. NO. 05-10033-02-T
SCOTTY |\/lOSlER,

Defendant.

 

ORDER ON ARRA|GNi\/|ENT

 

This cause came to be heard on July 12, 2005. The Assistant United States Attorney
appeared on behalf of the government, and the defendant appeared in person and with the
following counsel, Who is appointed:

NAl\/lE: Dianne Smothers
ADDRESS:

TELEPHONE:

The defendant, through counse|, Waived formal arraignment and entered a plea of not
guilty.

All motions shall be filed Within thirty (30) days from the date hereof unless, for good cause
shown to a Distriot Judge, such period is extended

The defendant, being held Without bond pursuant to BRA of 1984, is remanded to the

custody ofthe U.S. l\/|arshal.
,___.._
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S. THOMAS ANDERSON
United States Magistrate Judge

Charges: conspiracy to steal and distribute materials and compounds containing controlled
substances and possession With intent to distribute controlled substances

Assistant U.S. Attorney assigned to case: Kitchen
Rule 32 Was not waived.

Defendant's age: 30.

This document entered on the docket sheet in compliance _ ,E.-;.t ~ . ,
With Rule 55 and/or 32(b) FRCrP on

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Notice of Distribution

This notice confirms a copy of the document docketed as number 44 in
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E$n¢ESSEE

 

Jerry R. Kitchen

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Jackson, TN 38301

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
109 S. Highland Ave.

Ste. B-S

Jackson, TN 38301

Honorable J ames Todd
US DISTRICT COURT

